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 Reich, Reich & Reich, P.C.                                     HEARING DATE: March 21, 2019
 Attorney for Montezuma Mexican                                 HEARING TIME: 2:00PM
 Restaurant, Inc.
 235 Main Street, Suite #450
 White Plains, New York 10601
 (914) 949-2126
 jreich@reichpc.com

 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 -------------------------------------------------------X
 In re:                                                         Chapter 11
                                                                Case No. 15-10365 (MG)
 MONTEZUMA MEXICAN RESTAURANT
 INC.,

                            Debtor.
 -------------------------------------------------------X
                   STATEMENT OF THE DEBTOR WITH RESPECT TO THE
         UNITED STATES TRUSTEE’S MOTION TO DISMISS CHAPTER 11 CASE
                OR ALTERNATIVELY, CONVERT THE CASE TO CHAPTER 7

         Montezuma Mexican Restaurant, Inc. (the “Debtor”), by and through the law firm of

 Reich, Reich & Reich, P.C. (the “Reich Firm”), as and for its statement with respect to the

 Motion of the United Trustees Office (the “US Trustee”), seeking dismissal of its Chapter 11

 Case or alternatively, converting its case to one under Chapter 7 respectfully states as follows:

         1.)       The Reich Firm was recently retained by the Debtor to facilitate its filing of an

 affidavit of disbursements so as to comply with its post-confirmation quarterly financial

 reporting requirements to the Court and to the US Trustee and to advise it on the best course of

 action with respect to the instant motion.

         2.)      The Debtor advised the Reich Firm that the attorney that represented it during the

 course of its Chapter 11 case, Marissa, Soto, Esq., of the Law Office of Soto & Associates, P.C.,

 became a New York State Civil Court Judge, in Bronx County, and as such could no longer

 represent the Debtor after it confirmed its Chapter 11 Plan of Reorganization.


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        3.)     The Debtor filed an Affidavit of Quarterly Disbursements (“Affidavit”) on March

 15, 2019 (ECF Docket No. 155) disclosing all of its quarterly disbursements since the entry of

 the Order Confirming the Debtor’s Fourth Plan of Reorganization on December 14, 2017. A

 copy of the Affidavit is annexed hereto as Exhibit A.

        4.)     The Debtor consents to entry of an order dismissing its Chapter 11 case

 conditioned upon the inclusion of a provision in the dismissal order preserving the effectiveness

 of all previously entered orders of the Court in the Debtor’s Chapter 11 case. The United States

 Trustee, through Trial Attorney, Andrew Velez-Rivera, Esq., has advised the undersigned that it

 would consent to the granting of such relief in the dismissal order. Alternatively, should the

 aforementioned condition not be acceptable to the Court, the Debtor requests a brief adjournment

 of the instant motion so as to allow it to file a motion seeking entry of a Final Decree.

 Dated: White Plains, New York
        March 18, 2019

                                               Reich, Reich & Reich, P.C.
                                               Attorneys for Montezuma Restaurant Group

                                           By: /s/ Jeffrey A. Reich
                                              Jeffrey A. Reich
                                              235 Main Street, Suite 450
                                              White Plains, New York 10601
                                              (914) 949-2126
  

  




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